                                               United States Bankruptcy Court
                                                    District of Arizona
In re:                                                                                                     Case No. 18-15054-MCW
SEAN H. CANNOLES                                                                                           Chapter 7
VICTORIA L. CANNOLES
         Debtors
                                                 CERTIFICATE OF NOTICE
District/off: 0970-2                  User: admin                        Page 1 of 1                          Date Rcvd: Mar 26, 2019
                                      Form ID: 318                       Total Noticed: 22


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Mar 28, 2019.
db/jdb         +SEAN H. CANNOLES,    VICTORIA L. CANNOLES,    16538 N 158TH AVE,   SURPRISE, AZ 85374-4328
15362527       +BANNER HEALTH,    PO BOX 42008,   Phoenix AZ 85080-2008
15362529       +Capital One Auto Finan,    Po Box 259407,    Plano TX 75025-9407
15362531        DIGNITY HEALTH,    ARIZONA GENERAL HOSPITAL,    PO BOX 841365,   Dallas TX 75284-1365
15362532       +GURSTEL LAW FIRM PC,    9320 EAST RAINTREE DRIVE,    Scottsdale AZ 85260-2016
15362533       +HCI,   PO BOX 42008,    Phoenix AZ 85080-2008
15362536        Lvnv Funding Llc,    C/o Resurgent Capital Services,    Greenville SC 29602
15362537       +Mercury Card/fb&t/tsys,    Po Box 84064,   Columbus GA 31908-4064
15362539        NATIONAL MEDICAL PROFESSIONAL,    PO BOX 841407,    Dallas TX 75284-1407
15362540       +ORTHO ARIZONA,    10450 W MCDOWELL RD 102,    Avondale AZ 85392-4901
15362542       +Stanisccontr,   914 14th St,    Modesto CA 95354-1011

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
tr              EDI: QCFLORES.COM Mar 27 2019 05:38:00      CONSTANTINO FLORES,    PO BOX 95080,
                 PHOENIX, AZ 85070-5080
smg             EDI: AZDEPREV.COM Mar 27 2019 05:38:00      AZ DEPARTMENT OF REVENUE,    BANKRUPTCY & LITIGATION,
                 1600 W. MONROE, 7TH FL.,   PHOENIX, AZ 85007-2650
15362526       +EDI: AMSHER.COM Mar 27 2019 05:38:00      Amsher Collection Svcs,    4524 Southlake Parkway,
                 Hoover AL 35244-3271
15362528       +EDI: CAPITALONE.COM Mar 27 2019 05:38:00      Capital One,    Po Box 30281,
                 Salt Lake City UT 84130-0281
15362530       +E-mail/Text: electronicbkydocs@nelnet.net Mar 27 2019 02:02:48       Dept Of Education/neln,
                 3015 Parker Rd,   Aurora CO 80014-2904
15362534        EDI: JEFFERSONCAP.COM Mar 27 2019 05:38:00      Jefferson Capital Syst,     16 Mcleland Rd,
                 Saint Cloud MN 56303
15362535       +EDI: CBSKOHLS.COM Mar 27 2019 05:38:00      Kohls/capone,    N56 W 17000 Ridgewood Dr,
                 Menomonee Falls WI 53051-7096
15362535       +E-mail/Text: bncnotices@becket-lee.com Mar 27 2019 02:01:40       Kohls/capone,
                 N56 W 17000 Ridgewood Dr,    Menomonee Falls WI 53051-7096
15362538       +EDI: MERRICKBANK.COM Mar 27 2019 05:38:00      Merrick Bank Corp,    10705 S Jordan Gateway,
                 South Jordan UT 84095-3977
15364357       +EDI: PRA.COM Mar 27 2019 05:38:00      PRA Receivables Management, LLC,     PO Box 41021,
                 Norfolk, VA 23541-1021
15362541       +E-mail/Text: correspondence@revsolve.com Mar 27 2019 02:04:07       Revsolve Inc,    Po Box 310,
                 Scottsdale AZ 85252-0310
15362543       +EDI: RMSC.COM Mar 27 2019 05:38:00      Syncb/walmart,    Po Box 965024,    Orlando FL 32896-5024
                                                                                               TOTAL: 12

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
cr*              +PRA Receivables Management, LLC,   PO Box 41021,   Norfolk, VA 23541-1021
                                                                                                                    TOTALS: 0, * 1, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Mar 28, 2019                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on March 26, 2019 at the address(es) listed below:
              CONSTANTINO FLORES    trusteeflores@floreslawaz.com, cflores@ecf.axosfs.com
              HAINES 4 MEYER   on behalf of Debtor SEAN H. CANNOLES help@arizonabankruptcyhelp.com
              HAINES 4 MEYER   on behalf of Joint Debtor VICTORIA L. CANNOLES help@arizonabankruptcyhelp.com
              U.S. TRUSTEE   USTPRegion14.PX.ECF@USDOJ.GOV
                                                                                            TOTAL: 4


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Information to identify the case:
Debtor 1              SEAN H. CANNOLES                                            Social Security number or ITIN   xxx−xx−1145
                      First Name   Middle Name   Last Name                        EIN    _ _−_ _ _ _ _ _ _
Debtor 2              VICTORIA L. CANNOLES                                        Social Security number or ITIN   xxx−xx−8249
(Spouse, if filing)
                      First Name   Middle Name   Last Name                        EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court District of Arizona

Case number: 2:18−bk−15054−MCW



Order of Discharge                                                                                                         12/15


IT IS ORDERED: A discharge under 11 U.S.C. § 727 is granted to:

           SEAN H. CANNOLES                                              VICTORIA L. CANNOLES


           3/26/19                                                        By the court: Madeleine C. Wanslee
                                                                                        United States Bankruptcy Judge


Explanation of Bankruptcy Discharge in a Chapter 7 Case

This order does not close or dismiss the case,                           This order does not prevent debtors from paying
and it does not determine how much money, if                             any debt voluntarily or from paying reaffirmed
any, the trustee will pay creditors.                                     debts according to the reaffirmation agreement.
                                                                         11 U.S.C. § 524(c), (f).
Creditors cannot collect discharged debts
This order means that no one may make any                                Most debts are discharged
attempt to collect a discharged debt from the                            Most debts are covered by the discharge, but not
debtors personally. For example, creditors                               all. Generally, a discharge removes the debtors'
cannot sue, garnish wages, assert a deficiency,                          personal liability for debts owed before the
or otherwise try to collect from the debtors                             debtors' bankruptcy case was filed.
personally on discharged debts. Creditors cannot
contact the debtors by mail, phone, or otherwise                         Also, if this case began under a different chapter
in any attempt to collect the debt personally.                           of the Bankruptcy Code and was later converted
Creditors who violate this order can be required                         to chapter 7, debts owed before the conversion
to pay debtors damages and attorney's fees.                              are discharged.
However, a creditor with a lien may enforce a                            In a case involving community property: Special
claim against the debtors' property subject to that                      rules protect certain community property owned
lien unless the lien was avoided or eliminated.                          by the debtor's spouse, even if that spouse did
For example, a creditor may have the right to                            not file a bankruptcy case.
foreclose a home mortgage or repossess an
automobile.

                                                                                        For more information, see page 2 >




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Some debts are not discharged                             Also, debts covered by a valid reaffirmation
Examples of debts that are not discharged are:            agreement are not discharged.

     ♦ debts that are domestic support                    In addition, this discharge does not stop
       obligations;                                       creditors from collecting from anyone else who is
                                                          also liable on the debt, such as an insurance
                                                          company or a person who cosigned or
     ♦ debts for most student loans;                      guaranteed a loan.


     ♦ debts for most taxes;
                                                           This information is only a general summary
     ♦ debts that the bankruptcy court has                 of the bankruptcy discharge; some
       decided or will decide are not discharged           exceptions exist. Because the law is
       in this bankruptcy case;                            complicated, you should consult an
                                                           attorney to determine the exact effect of the
                                                           discharge in this case.
     ♦ debts for most fines, penalties,
       forfeitures, or criminal restitution
       obligations;

     ♦ some debts which the debtors did not
       properly list;


     ♦ debts for certain types of loans owed to
       pension, profit sharing, stock bonus, or
       retirement plans; and


     ♦ debts for death or personal injury caused
       by operating a vehicle while intoxicated.




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